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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                    CASE NO: 2:13-cr-21-FtM-29UAM

GREGORY WAYNE EAGLE


                            OPINION AND ORDER

      This matter comes before the Court on defendant's Emergency

Motion to Reduce Sentence and Provide Other Equitable Relief

Pursuant to 28 U.S.C. § 2255 (Doc. #72) filed on October 22, 2015.

The government filed a Response (Doc. #74) on October 28, 2015.

With the permission of the Court, defendant filed a Response to

Government’s Response (Doc. #77) on October 29, 2015.              For the

reasons set forth below, the motion is dismissed for lack of

subject matter jurisdiction.

      Pursuant to a Plea Agreement, defendant Gregory Wayne Eagle

plead guilty to a six-count Information charging Bank Fraud in

violation of 18 U.S.C. § 1344. (Docs. ##2, 3, 16.)           On January 7,

2014, defendant was sentenced to 72 months imprisonment followed

by 60 months of supervised release.        (Doc. #50.)    Restitution was

ultimately    determined     to   be   $23,430,000.00.        (Doc.   #70.)

Defendant did not file a direct appeal, and at the time of the

motion was serving his sentence in a Bureau of Prisons facility in
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Pensacola, Florida (although he apparently is scheduled for a

medical transfer to a facility in Butner, North Carolina).

        Defendant’s current motion seeks various relief because of

his current medical conditions, which he asserts are not being

properly    treated   by    the   Bureau    of   Prisons.      Specifically,

defendant requests that the Court:           (1) reduce his sentence to

time served; (2) enjoin the Bureau of Prisons from removing him

from his then-current location in a hospital in Pensacola, Florida;

and/or (3) order his conditional release and transfer to the Middle

District of Florida for an evidentiary hearing.             Defendant asserts

that the Court has the authority to do all of these things pursuant

to 28 U.S.C. § 2255.       The government asserts that the Court lacks

jurisdiction, and the Court agrees.

        Jurisdiction in this context means “the courts’ statutory or

constitutional power to adjudicate the case.”               United States v.

Cotton, 535 U.S. 625, 630 (2002) (citation omitted).               Whether a

district court has the power to resentence a defendant under 28

U.S.C. § 2255 is a legal question for the court.               United States

v. Diaz-Clark, 292 F.3d 1310, 1315 (11th Cir. 2002).               The Court

has no inherent power to modify or correct a sentence, but rather

must look to the specific parameters of federal statutes and the

Federal Rules of Criminal Procedure.             Diaz-Clark, 292 F.3d at

1315.     The starting point is 18 U.S.C. § 3582(c), which provides

in relevant part:



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            (c) The court may not modify a term of
            imprisonment once it has been imposed except
            that—

            (1) in any case—

            (A) the court, upon motion of the Director of
            the Bureau of Prisons, may reduce the term of
            imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that—

            (i) extraordinary and compelling            reasons
            warrant such a reduction; or

            (ii) the defendant is at least 70 years of
            age, has served at least 30 years in prison,
            pursuant to a sentence imposed under section
            3559(c), for the offense or offenses for which
            the defendant is currently imprisoned, and a
            determination has been made by the Director of
            the Bureau of Prisons that the defendant is
            not a danger to the safety of any other person
            or the community, as provided under section
            3142(g);

            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission; and

            (B) the court may modify       an imposed term of
            imprisonment to the extent     otherwise expressly
            permitted by statute or        by Rule 35 of the
            Federal Rules of Criminal      Procedure; and

            (2) in the case of a defendant who has been
            sentenced to a term of imprisonment based on
            a sentencing range that has subsequently been
            lowered by the Sentencing Commission pursuant
            to 28 U.S.C. 994(o), upon motion of the
            defendant or the Director of the Bureau of
            Prisons, or on its own motion, the court may
            reduce the term of imprisonment, after
            considering the factors set forth in section



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             3553(a)   to  the   extent   that  they   are
             applicable, if such a reduction is consistent
             with applicable policy statements issued by
             the Sentencing Commission.

18 U.S.C.A. § 3582(c).             Section 3582(c)(1)(A) is not applicable

because the Director of the Bureau of Prisons has not filed such

a motion.    Section 3582(c)(2) is not applicable because there has

been   no   change    by     the    Sentencing      Commission     in    defendant’s

Sentencing     Guidelines       range.       The     final   alternative       is     §

3582(c)(1)(B), which allows a court to modify an imposed term of

imprisonment    “to    the     extent    otherwise     expressly        permitted   by

statute or by Rule 35 of the Federal Rules of Criminal Procedure.”

Neither Rule 35(a) nor Rule 35(b) apply to this case, which leaves

only the possibility of another “statute” which allows a district

court to modify or reduce a sentence.

       Defendant points to 28 U.S.C. § 2255 as the statute which

authorizes the Court to grant the relief he requests.                       Ignoring

the untimeliness of the petition under 28 U.S.C. § 2255(f) (a non-

jurisdictional       issue),       Section   2255    “does   not    encompass       all

claimed errors in conviction and sentencing.”                    United States v.

Addonizio, 442 U.S. 178, 185 (1979).                Rather, Section 2255 gives

the court subject matter jurisdiction only where a prisoner asserts

he is in custody under a sentence that “was imposed in violation

of the Constitution or laws of the United States, or that the court

was without jurisdiction to impose such sentence, or that the




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sentence was in excess of the maximum authorized by law, or is

otherwise subject to collateral attack.”             28 U.S.C. § 2255(a).

None of these situations are present in this case.

        Here, the original sentence is not alleged to be illegal or

to have been imposed in violation of the Constitution or laws of

the   United    States.    Defendant    took   no   direct   appeal   of   the

sentence, which could have been done.          United States v. Bushert,

997 F.2d 1343, 1347 (11th Cir. 1993) (defendant who pleads guilty

and is sentenced under the Sentencing Guidelines has a right to

direct appeal of his sentence).         Additionally, it is clear that

the court was not without jurisdiction to impose the sentence.              A

district court of the United States has original and exclusive

jurisdiction over “all offenses against the laws of the United

States.”       18 U.S.C. § 3231.       Defendant was charged with such

federal offenses, namely Bank Fraud in violation of 18 U.S.C. §

1344.    Defendant’s six year concurrent sentences were well within

the statutory 30 year maximum.         Fernandez v. United States, 941

F.2d 1488, 1494 (11th Cir. 1991) (“sentences imposed within the

statutory limits are insulated from section 2255 review”).

        Defendant essentially argues that the sentence “is otherwise

subject to collateral attack” within the meaning of §2255(a).

“When a prisoner . . . alleges that his ‘sentence was imposed in

violation of the . . . laws of the United States . . . or is

otherwise subject to collateral attack,’ 28 U.S.C. § 2255(a), a



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district court lacks the authority to review the alleged error

‘unless the claimed error constitute[s] a fundamental defect which

inherently       results    in    a    complete       miscarriage     of     justice.’”

Spencer v. United States, 773 F.3d 1132, 1138 (11th Cir. 2014)

(quoting Addonizio, 442 U.S. at 185).

      It is seldom the case that a sentence lawful when it is

imposed will be subject to challenge under Section 2255 due to

later developments.          Addonizio, 442 U.S. at 185-90.                     Neither

defendant’s conditions of confinement, nor his medical conditions,

nor his claim of inadequate medical care give the Court the

authority to reduce the sentence or enjoin the Bureau of Prisons.

While an inmate’s conditions of confinement may give rise to a

civil lawsuit for damages, relief on those grounds is not available

under Section 2255.         A petition for writ of habeas corpus is the

sole remedy for prisoners challenging the fact or duration of their

imprisonment.       Preiser v. Rodriguez, 411 U.S. 475, 504 (1973);

Wilkinson    v.    Dotson,       544   U.S.    74,    78    (2005).     By   contrast,

constitutional claims that merely challenge the conditions of a

prisoner's       confinement,      whether      the   inmate    seeks      monetary   or

injunctive relief, fall outside of that core and may be brought

pursuant    to    Section    1983      in    the    first   instance.        Nelson   v.

Campbell, 541 U.S. 637, 643 (2004).                 In Cook v. Hanberry, 596 F.2d

658, 660 (5th Cir. 1979), the court held that even if a prisoner

proves an allegation of mistreatment in prison that amounts to



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cruel and unusual punishment, he is not entitled to release.            See

also Gomez v. United States, 899 F.2d 1124, 1126 (11th Cir. 1990).

As defendant notes, the decision to seek an inmate’s release

because of his medical condition has been vested in the warden.

      Accordingly, it is hereby

      ORDERED:

      Defendant's Emergency Motion to Reduce Sentence and Provide

Other Equitable Relief Pursuant to 28 U.S.C.           2255 (Doc. #72) is

DISMISSED for lack of jurisdiction.

      DONE and ORDERED at Fort Myers, Florida, this           5th    day of

November, 2015.




Copies:
Counsel of Record




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